     Case 1:17-cv-00179-DHB-BKE Document 128 Filed 08/03/20 Page 1 of 1
                                                                                           :- \LDj
                                                                                    O.S. DISTRICT COURT
                                                                                        AUGUSTA OlV.
                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF GEORGIA
                                                           20 AUG “3                             PM 2^03
                               AUGUSTA DIVISION

GJ&L, INC.,                                                                       CLERK
                                                  *                                   SO.DIST. OF GA.
                                                  ■k
        Plaintiff,
                                                  ●k

             V .                                                       CV 117-179
                                                  k

                                                  k
CNH INDUSTRIAL AMERICA,           LLC,
                                                  'k

                                                  k
        Defendant.



                                           ORDER


        Before     the    Court    is     the          Parties'      joint      stipulation       of

dismissal with prejudice.                (Doc.    No.     127. )     The Parties consent to

dismissal     of    all   claims     and     counterclaims;               thus,    dismissal      is

proper under Federal Rule of Civil Procedure 41(a) (1) (A) (ii) .                                 IT

IS   THEREFORE      ORDERED       that     Plaintiff's             claims    and        Defendant's

counterclaims are DISMISSED WITH PREJUDICE.                            The Clerk is directed

to   close   this    case.        Each    party         shall      bear   its     own    costs   and

attorney's fees.

        ORDER ENTERED at Augusta,                Georgia,       this

2020.
                                                                                                           *
                                                        UNITED STATES/DISTRICT JUDGE
